             Case 20-10553-CTG   Doc 1412-3    Filed 04/04/22   Page 1 of 8




                                    EXHIBIT 3

                           Golden Bros. d/b/a Ultracomfort




DOCS_LA:342783.1
             Case 20-10553-CTG              Doc 1412-3         Filed 04/04/22        Page 2 of 8




                     SETTLEMENT AGREEMENT AND MUTUAL RELEASE

                   This Selllement Agreement and Mutual Release (the "Settlement Agreement") is

entered into by and between Alfred T. Giuliano, solely in his capacity as the Chapter 7 Trustee

(the ·'Trustee") of Art Van Furniture, LLC, et al. (the "Debtors"), 1 and not in any individual

capacity, on the one hand, and GOLDEN BROTHERS, INC., dba ULTRA COMFORT

AM ERIC A (the "Company"), on the other hand. Company and the Trustee may be referenced

herein collectively as the "Parties" and/or each as a "Party."

                                                 Background

                   WHEREAS, on or about March 8, 2020 (the "Petition Date"), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The cases are

being jointly administered pursuant to Bankruptcy Rule l O l 5(b) under Case No. 20-l 0553 in the

United States Bankruptcy Court for the District of Delaware; and

                   WHEREAS, on or about April 26, 2020 (the "Conversion Date"), the Comt

entered an order converting the chapter 11 cases to chapter 7 [Docket No. 263], and Alfred T.

Giuliano was appointed as the chapter 7 trustee [Docket No. 264]; and

                   WHEREAS, the Debtors and Company had various business relationships prior lo

the Petition Date; and

                   WHEREAS, the Debtors' records reflect that Company received payments from

the Debtors on account of outstanding indebtedness within the 90 days prior to the Petition Date

( the ''90 Day Transfers"), which the Trustee believes he can avoid and recover for the benefit of

1
  The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number,
include: Ari Van Furniture, LLC (9205): A VF Holding Company, Inc. (029 I); A VCE, LLC (2509); AVF Holdings L
LLC (15.17); A VF Holdings I I, LLC (7472); A VF Parent, LLC (3451 ); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491 ); AV Pure Sleep Franchising, LLC (8968); A VF Franchising, LLC (6325); LF
Trucking. Inc. (1484): Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors'
service address in these chapter 11 cases is: 6500 Easl 14 Mile Road, WmTen Michigan 4809'.1.



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              Case 20-10553-CTG               Doc 1412-3      Filed 04/04/22      Page 3 of 8




 the Debtors' bankruptcy estates pursuant to Bankruptcy Code sections 54 7 and 550, and the

 Company disputes; and

                    WHEREAS, the Trustee sent a letter to Company concerning the 90 Day

 Transfers. and the Parties have engaged in good faith, arms' length negotiations to resolve the

matter; and

                    NOW THEREFORE, for good and valuable consideration, the receipt and

sul1iciency of which is hereby acknowledged, the Parties hereby agree that:

                    1.         Recitals. The recitals set forth above are incorporated herein by

reference.

                    2.         Settlement Amount. Upon execution of this Settlement Agreement,

Company shall pay to the Trustee the sum of Thirty Nine Thousand Seven Hundred Forty Nine

Dollars $39,749.00 (the "Settlement Payment) on or before the later of March 15, 2022, or (ii)

within three business days of the Bankruptcy Court's entry of an order approving the Settlement

Agreement, in accordance with following wire instructions:

                   Bank:              TriState Capital Bank
                                      301 Grant Street, Suite 2700
                                      Pittsburgh, PA 15219
                   ABA#:              043019003
                   Swift#:            TRTTUS33
                   Acct#:             8100010308
                   Acct Name:         Sam Levin, Inc.

If by check, make payment to "A. Giuliano, Chapter 7 Trustee, Sam Levin, Inc.", as addressed lo
Pachulski Stang Ziehl & Jones LLP, Attn. Jeffrey P. Nolan, 10100 Santa Monica Blvd, Suite
1300, Los Angeles, CA 90067.


                   3.          Settlement Effective Date. The effective date of this Settlement

Agreement and all of' ils terms shall be the later of (i) execution by all Paities, (ii) payment of the




DOCS_J .A:342350.2 05233/003
                 Case 20-10553-CTG                Doc 1412-3      Filed 04/04/22     Page 4 of 8




 Settlement Payment, and (iii) entry ofan order of the Bankruptcy Court approving the Settlement

 Agreement (the "Settlement Effective Date").

                        4.          Trustee's Limited Release. Effective on the Settlement Effective Date,

 the Trustee, solely in his capacity as chapter 7 trustee of the Debtors, and not in any individual or

 other capacity, shall be deemed to have irrevocably and unconditionally, fully, finally and

 forever waived, released, acquitted and discharged Company, its directors, employees, officers

 and the successors and assigns of any of them (collectively, the "Defendant Releasees") from

 any and all claims, manner of actions, causes of action, suits, costs, debts, liabilities. obligations,

dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,

controversies, agreements, promises, variances, trespasses, damages, judgments, executions and

 demands whatsoever, of whatever kind or nature, whether known or unknown, suspected or

unsuspected, in law or equity, which the Trustee has, had, may have, or may claim to have

against the Defendant Releasees solely in connection with the 90 Day Transfers.

                       5.           Company's Limited Release. Effective on the Settlement Effective Date.

the Defendant Releasees shall be deemed to have irrevocably and unconditionally, fully, finally

and forever waived, released. acquitted and discharged the Trustee, the Debtors and their

bankruptcy estates, their past or present attorneys, accountants, financial advisors, directors,

employees, officers, parents, agents, subsidiaries, and the successors and assigns of any of them

( collectively, the "Trustee Releasees"), from any and all claims, manner of actions, causes of

action, suits. costs. debts, liabilities, obligations, dues, sums of money, accounts, reckonings,

bonds, bills, specialties, covenants, contracts, controversies, agreements, promises, variances,

trespasses, damages, judgments, executions and demands whatsoever, of whatever kind or nature,

whether known or unknown. suspected or unsuspected, in law or equity, which the Defendant




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                 Case 20-10553-CTG                   Doc 1412-3     Filed 04/04/22      Page 5 of 8




 Releasees has, had, may have, or may claim to have against any of the Trustee Releasees solely

 in connection with the 90 Day Transfers.

                        6.           Claim Waiver. Defendant hereby waives any claim for the Settlement

 Payment pursuant to any 502(h) claim of the Bankruptcy Code, or otherwise. Notwithstanding

 the aforementioned, the Company retains any filed claims made in the bankruptcy cases.

                        7.          No Admissions. This Settlement Agreement is not and shall not in any

 way be construed as an admission by the Parties of any allegations made in connection with the

 90 Day Transfers.

                        8.          Expenses. The Parties shall bear their own costs, expenses, and attorneys'

 lees incurred to date in connection with the 90 Day Transfers, the Waived Claim and this

 Settlement Agreement. In the event of any dispute in connection with the enforcement of this

Settlement Agreement, the prevailing Party shall be entitled to its reasonable attorneys' fees,

costs and all necessary disbursements and out-of-pocket expenses, whether statutorily approved

or non-approved costs, incurred in connection with such action or proceeding, as determined by

the Court.

                       9.           Severability. The Parties agree that if any provision of this Settlement

Agreement is determined by a court of competent jurisdiction to be illegal, invalid or

unenlorceable. that provision shall not be a part of this Settlement Agreement. The legality,

validity and enforceability of the remaining provisions shall not be affected by a provision of this

Settlement Agreement that is illegal, invalid, or unenforceable.

                       I 0.         Miscellaneous.

                                    (a)   Neither this Settlement Agreement, nor any statement made or

action taken in connection with the negotiation of this Settlement Agreement, shall be offered or




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                Case 20-10553-CTG                  Doc 1412-3       Filed 04/04/22      Page 6 of 8




 received in evidence or in any way referred to in any legal action or administrative proceeding

 among or between the Parties hereto, other than as may be necessary (i) to obtain approval of and

 lo enforce this Settlement Agreement (including the mutual releases contained herein) or (ii) to

 seek damages or injunctive relief in connection therewith.

                                  (b)    Each of the Parties hereto shall execute and deliver any and all

 additional papers. documents and other assurances, and shall do any and all acts and things

 reasonably necessary or appropriate in conjunction with the performance of each of the Parties'

 respective obligations hereunder.

                                  ( c)   No provision of this Settlement Agreement is intended to confer any

rights, benefits, remedies, obligations or liabilities hereunder upon any person other than the

Parties hereto and their respective successors.

                                  (d)    This Settlement Agreement shall be governed by and construed in

accordance with the law of the State of Delaware without regard to any choice of law provisions.

                                  (e)    This Settlement Agreement may be signed in counterpart originals

and delivered by facsimile or email, which, when fully executed, shall constitute a single original.

                                  (f)    The United States Bankruptcy Court for the District of Delaware

shall retain exclusive jurisdiction (and the Patties consent to such retention ofjurisdiction) with

respect to any disputes arising from or related to, or other actions to interpret, administer or

enforce the terms and provisions of, this Settlement Agreement.

                                  (g)    Any statute or period of limitations, statutes of repose, or other time­

based limitations or defenses, whether at Jaw, in equity, under statute, contract, or otherwise

(including, but not limited lo, the doctrine of !aches or waiver), which might be asserted as a time

bar and/or limitation in connection with the Preferential Transfers is hereby tolled until the




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               Case 20-10553-CTG               Doc 1412-3      Filed 04/04/22     Page 7 of 8




 Settlement Et1ective Date. Nothing in this Settlement Agreement shall operate to revive or

 extend the time for filing any claim that is now time barred or barred by any applicable statute or

 period of limitations, statutes of repose, or other time-related defense as of the date this

 Settlement Agreement is executed as set forth below.

                                (h)   Each person or entity who executes this Settlement Agreement on

 behalf of another person or entity represents and warrants that he, she, or it is duly authorized to

execute this Settlement Agreement on behalf of such person or entity, has the requisite authority

lo bind such person or entity, and such person or entity has full knowledge of and has consented

to this Settlement Agreement. The representations and warranties set fo1ih in this paragraph

shall survive execution of this Settlement Agreement.

                                (i)   In executing the Settlement Agreement, each of the Parties

represents and warrants, for itsel( that: (a) it does so with full knowledge of its available rights,

(b) it is not relying and has not relied upon any representations made by any person with regard

to the Settlement Agreement, other than any written representations and agreements contained

herein, (c) it has had available to it such information as it or its counsel considered necessary to

making an informed judgment concerning the Settlement Agreement, and (d) it has conducted

such investigation as it or its counsel deemed appropriate regarding the settlement and its rights

and asserted rights in connection with the matters that are the subject of the Settlement

Agreement.

                                (i)   The Patties acknowledge that this Settlement Agreement constitutes

the entire agreement between the Parties with respect to the subject matter hereof� and all prior

agreements, negotiations and understandings with respect to the subject matter hereof are

canceled and superseded by this Settlement Agreement.




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                Case 20-10553-CTG           Doc 1412-3      Filed 04/04/22      Page 8 of 8




                             (k)   This Settlement Agreement shall not be modified, altered, amended

 or vacated without the written consent of all parties hereto or order of the Court.

                             (I)   This Settlement Agreement shall inure to the benefit of and be

 binding upon the successors and assigns of the Parties hereto.

                             (m)   The Parties each agree to indemnify the other for any and all costs

 incurred as a result of any breach of any representation, warranty, or covenant set forth in this

 Settlement Agreement, including, without limitation, court costs and reasonable attorneys' fees

and expenses.

                             (n)   The headings of all sections of this Settlement Agreement are

inserted solely for the convenience of reference and are not a part of and are not intended to

govern, limit, or aid in the construction or interpretation of any term or provision hereof.

         I 1.     Bankruptcy Court Approval. Promptly following the Parties' execution of this

Agreement, the Trustee shall move for approval of this Agreement by the Bankruptcy Court

pursuant to Federal Rules of Bankruptcy Procedure 9019. Until and unless the Bankruptcy Court

enters an order of approval, this Agreement shall have no binding effect.

         IN WITNESS WHEREOF, this Settlement Agreement is hereby executed as of the clate(s)

set forth below:

ACCEPTED AND AGREED TO BY:

Dated: March 9, 2022                                       Dated:lfJ§�ilS'_, 2022
                                                                  March 1,
    r
Alf ed T. Giuliano, solely in his capacity as        GOLDEN BROTHERS, INC. dba ULTRA
Chapter 7 Trustee of Art Van Furniture, LLC, et al_, COMFO    MERICA
which includes Wolf Furniture. a division of Levin        &
Furniture
          /s/ Alfred T. Giuliano                           By:�
                                                               .!,.;<-�-=�--------
By: __=-���-----
     Alfred T. Giuliano, Trustee --                        Name: Richard Golden
                                                           Title: President/CEO



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